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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
AT HOUSTON, TEXAS

IN RE: SUPPLEMENT SPOT, LLC,
DEBTOR, CASE NO. 06-35903

CHAPTER 11

YOUNG AGAIN PRODUCTS, INC.,
PLAINTIFF,

vs. ADVERSARY NO. 07-3019

SUPPLEMENT SPOT, LLC, ET AL,
DEFENDANTS,

AAMANAMAMA

DEFENDANT, JOHN ACORD'S, MOTION TO IMPCSE SANCTIONS UNDER
RULE 37(b) F.R.CIV.P. AND 7037(b) F.R.BKR.P., INHERENT POWER
OF THE COURT (CHAMBERS V. NASCO), AND TITLE 28 U.S.C. § 1927

 

 

 

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

COMES NOW, the Defendant, John Acord ("ACORD") and files
this his Motion to Impose Sanctions Pursuant to Rule 37
F.R.Civ.P. and 7037(b) F.R.Bkr.P., the Inherent Power of this
Court as defined by the United States Supreme Court in Chambers
v. NASCO, and Title 28 U.S.C. § 1927 and, in support of said
Motion, would show this Court the following:

SYNOPSIS OF RECORD
I.

1. Previously, this Court entered an Order on May 2, 2008
granting Defendant Acord's Motion to Compe]. Discovery, Docket No.
173. The Court made the following entry, "Documents are to be
produced." Plaintiff, Young Again, then filed an "Emergency
Motion for Clarification of May 2, 2008 Order" on May 7, 2008.
Docket No. 175.

2. This Court entered an order on May 15, 2008 clarifying
its May 2, 2008 Order, Docket No. 182. On May 20, 2008, Plain-

tiff, Young Again, filed a privilege log with the Court purport-
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ing to list documents in its possession, custody, and/or control,
which were privileged from discovery. Docket No. 186. On June
27, 2008, Plaintiff, Young Again, filed a "Revised Privilege Log"
with the Court. Docket No. 205. On July 9, 2008, Plaintiff,
Young Again, filed what it called an "Emergency Motion to Seal or
for Order Directing John Acord to Destroy Documents." Docket No.
228.

3. On July 24, 2008, this Court entered an order overruling
the objections of Defendant, John Acord, to Plaintiff's Expedited
Motion for Clarification. Docket No. 234. On July 28, 2008,
Plaintiff, Young Again, filed what it called an "Emergency Motion
for Reconsideration." Docket No. 245. On July 30, 2008, the
United States District Judge Lynn N. Hughes signed a "reviewing
decision letter." Docket No. 249. On May 21, 2008, Plaintiff,
Young Again, filed what it described as an "Emergency Motion to
Seal Exhibit 2 to Young Again Products, Inc.'s Opposition to
Defendant's Joint Motion for Sanctions and Contempt against
Plaintiff and Its Attorneys. Docket No. 258.

4. Plaintiff, Young Again, and its attorneys Freeman and
McClure represented to this Court that all documents which had
been withheld from production had been described in the privilege
log(s) (original and revised). After reviewing the documents
submitted by Plaintiff, Young Again in camera this Court allowed
a few redactions and directed Plaintiff tc turn over the remain-
der of the documents to the Defendant Acord.

5. This Court recommended withdrawal of reference to the
District Court before the scheduled trial concluded. The Federal

District Clerk assigned this case to the United States District
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Judge Nancy Atlas. After conducting an initial status confer-
ence, Judge Atlas ruled that the case was not ready for trial and
referred this matter back to this Court for disposition of all
pretrial matters.

6. This Court invited reconsideration of its prior Order
denying Acord's attorney, Joe Alfred Izen, Jr.'s, Motion for
Leave to Appear Pro Hac Vice. After granting reconsideration and
allowing attorney Izen to appear once more as Defendant Acord's
attorney, this Court conducted a hearing concerning all pending
motions.

7. Defendant Acord's attorney elected to withdraw Acord's
pro se Motions for Contempt and Sanctions and sought leave, and
additional time to prepare and file new motion(s) if he deemed
the same warranted under the facts of this case and existing law.

8. After careful review of this Court's prior discovery
orders, statements of attorneys contained in transcripts, and
sworn testimony of witnesses in prior hearings, coupled with a
comparative analysis of the discovery and testimony adduced in
this case, Defendant Acord brings this Motion for Sanctions on
the following basis:

FACTUAL BASIS SUPPORTING SANCTIONS UNDER RULE 37 F.R.CIV.P.,
RULE 7037 F.R-BKR.P., INHERENT POWER OF THIS COURT (CHAMBERS V.

NASCO), AND 28 U.S.C. §1927

 

II.

1. FRAUD ON COURT: On January 11, 2008 and December 14,
2007, Young Again attorney Freeman wrote a threatening letter to
third party witness, Vicki Pitts:

We hereby demand that you immediately cease and desist

form (sic) providing any further information to Any
Person, firm or entity, including Mr. Acord, Ms. Orte-
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ga, Supplement Spot, except as required by court order
or authorized in writing by YAP.

Furthermore, we understand that you have on your compu-
ters 99% of all emails sent by Roger Mason to you, to
YAP's customers, and/or which were received from YAP's
customers. See Exhibit No. 1 attached hereto (emails
between Vicki Pitts and John Acord). Enclosed herewith
is a federal Subpoena requiring the production of all
documents, emails, letters, and/or other business
information you have disclosed to Mr. Acord and for all
documents, emails, and/or other communications you have
had with John Acord, Marcella Ortega, Sean Ortega,
and/or Supplement Spot. Moreover, the subpoena re-
quires the production of any and all other information, .
emails, correspondence, customer lists/data of Young
Again Products, Inc. in your possession which includes,
but is not necessarily limited to, the 99% of all
emails you have saved on your computer(s).

Please understand that the subpoena is a court order

requiring you to produce the documents by noon, on
Friday, January 25, 2008.

True and correct copies of Freeman's January 11, 2008 and Decem-
ber 14, 2007 letters to Vicki Pitts are attached hereto as Exhi-
bits A and B.

2. Contrary to Mr. Freeman's "instructions" to the witness,
no court order prevented the witness Pitts from turning over the
subpoenaed documents to Acord, Ortega, and Supplement Spot. Nor
was a court order required in order for her to do so. As parties
in this case, the Maryland case, and the Utah case, they were
absolutely entitled to inspect and copy all documents produced
under the third party subpoena Rule 9016 F.R.B.P. Rule 45
F.R.Civ.P.

3. The admissions contained in attorney Freeman's letters
establish that he subpoenaed records from third party witness
Vicki Pitts while fraudulently instructing her not to make such
records available to the other parties to the case. Rule 45

requires an attorney issuing a third party subpoena as an "offi-
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cer of the Court" to file a notice of the issuance of such third
party subpoena and to serve such notice, and the subpoena itself,
on all parties to an action. Review of the docket sheet in this
case reveals no such notice filing by Young Again ("YAP"). Review
of the Maryland docket sheet reveals no such notice of filing by
the Plaintiff. Attorney Freeman's false instructions to the
witness concerning the subpoena, coupled with the failure to
comply with Rule 45's notice provisions seems to establish inten-
tional abuse of the Court's subpoena and discovery process.
Perhaps an issuing attorney could be ignorant of Rule 45's notice
and filing requirements while, at the same time falsely instruct-
ing the witness to keep the production under the Court's subpoe-
nas secret. But what are the odds?

4. In her response to attorney Freeman's threatening let~
ters on January 25, 2008, third party witness Vicki Pitts re-~
sponds to the subpoena "filed in the Bankruptcy Court for the
District of Arizona (?)" and describes the documents she "ship-
ped" to Plaintiff's counsel Freeman on January 25, 2008. A true
and correct copy of witness Vicki Pitts’ response to attorney
Freeman's letter is attached hereto and marked Exhibit C. The
Pitts' response to the subpoena should have been produced for
inspection and copying by all parties to the case in which the
subpoena was issued as well as in this case. All parties should
have received prior notice of the service of the subpoena. Even
if Plaintiff's counsel McClure's representation that the subpoena
in question was issued in the Maryland case is true, McClure's
(and presumably Freeman's) claim that John Acord, Marcella Orte-

ga, and Ben Floyd, the Trustee for Supplement Spot, had no right
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to access to the documents is false. Nor can such abuse be
discounted as mere ignorance of counsel.

5. On August 30, 2007, Plaintiff's attorney McClure wrote a
threatening letter to Defendant, John Acord, describing in great
detail, all of Young Again's purported rights to discovery under
the Federal Bankruptcy Rules. McClure cautioned Acord:

Specifically you are instructed not to destroy, dis-

able, erase, encrypt, alter, or otherwise make unavail-

able any electronic evidence or other documents rele-

vant to the claims asserted in the pending cases.

Attorney Freeman's instructions to third party witness Vicki
Pitts seem specifically calculated to make discoverable documents
unavailable. Clearly, attorney Freeman failed to follow the
admonition of his own co-counsel. A true and correct copy of
McClure's threatening letter to Defendant Acord is attached
hereto, marked Exhibit D, and is incorporated by reference. The
statements contained in McClure's letter are an admission by a
party opponent, binding on Plaintiff, Young Again, and establish
that Plaintiff and its attorneys understood the requirements of
discovery under the Federal Bankruptcy Rules and that secreting
documents produced in compliance with the subpoena abuses the
Court's discovery processes. Nor can Plaintiff's attorneys claim
they were unaware of Rule 45's notice / filing requirements.
Attorney McClure filed such a notice in the overlying Bankruptcy
Case No. 06-35903. See entry dated January 16, 2007, Docket No.
73. A true and correct copy of that docket entry is attached
hereto, marked Exhibit E, and is incorporated by reference. Nor

can Plaintiff's attorney McClure deny knowledge that the docu-

ments she is asking this Court to destroy through a "Motion to
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Seal" were not subpoenaed. At the last hearing before this Court
on November 18, 2008, attorney McClure admits knowledge that John
Acord was a party to the Maryland case with the following boast:
In fact Mr. Acord was up there yesterday on a contempt
motion against Mr. Mason. Mr. Acord was sanctioned
$24,000 for his frivolous contempt motion. So it's
ongoing in front of Judge Titus.
Exhibit F, P. 5, LL 14-18.
6. Despite her clear knowledge of Rule 45's requirements,
Ms. McClure represented:
And John Acord -- once our relationship with Vicki
Pitts went south, we had to subpoena the documents from
her for our own safekeeping. Mr. Acord went around us
without ever asking in any of the discovery requests
for anything pertaining to Vicki Pitts. He went
straight to her, got the documents from her. He never
had any right to then.
Exhibit F, P. 5, LL 23-25; P. 6, LL 1-4.
7. A true and correct copy of excerpts of the transcript
from the November 18, 2008 hearing are attached hereto as Exhibit
F. In YAP speak, uttered through its counsel, intentional sub-

poena of its own documents occurs:

Inadvertently if you will...through no fault of our
own.

Exhibit F, P. 6, LL 8-12.

8. As will be seen hereafter, the only "smoking guns" found
in this case are the fraudulent use of the Maryland subpoena to
suppress documents coupled with and the fraud extortion and abuse
of the Court's process which permeate the emails and documents
In "Exhibit 2" which YAP and its counsel seek to destroy.

9. When Acord's attorney Izen announced:

I am glad to hear that Ms. McClure says these documents

were subpoenaed. And I am going to state that I assume
for purposes of this argument that they were subpoenaed
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in this case. If so, her comment that no party has a

right to them but the Freemans is totally bogus under

the Rules.

See Exhibit F, P. 6, LL 18-23. Ms. McClure fumed, with much
hauteur:

And for the record, the documents were not subpoenaed

by the Freeman law firm in this case. They were in the

Maryland case.

See Exhibit F, P. 8, LL 10-13.

10. Mr. Acord informs his counsel that he has requested
that the third party witness Vicki Pitts produce the subpoena
referred to in Freeman's letters. (See Exhibits A and B). If,
as claimed by Ms. McClure, the subpoena in question was issued in
the Maryland case, it should not bear a United States Bankruptcy
Court for the District of Arizona caption. Such a third party
out of District Bankruptcy subpoena could be issued in is the
case at Bar.

11. By preparing the privilege leg and submitting all
documents to this Court in YAP's possession, custody, or control,
which have not already been produced for in camera review by this

Court, YAP's counsel represented that no other documents were in

their possession, custody, or control. Poole v. Texron, Inc.,

 

192 F.R.D. 444, 503 (D.Md. 2000). YAP's counsel were well aware
of this Court's prior orders requiring all the documents to be
produced and allowing YAP to withhold only the documents in YAP'S
or its counsel's possession which were described in the privilege
log and submitted to the Court for in camera review. A true and
correct copy of this Court's ruling admonishing attorneys Freeman
and McClure to produce the documents is attached hereto, as

Exhibit G. This Court stated at that time:
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We are going to trial. Mr. Acord took the risk of
representing himself pro se ana he finally went out and
got you as his counsel, and that's gocd. But I am not
extending deadlines. This case is going to be tried as
scheduled because I am not going to continue. My
feeling about this case is the more continuances I
grant, the more acrimonious it will get, the more

discovery problems it will get and the more time we are
going to waste in this courtroom on discovery disputes.
We are going to try it. We are going to put people
under oath...Get the documents produced. If they ain't
produced, there will be a take-nothing judgment.
Plaintiffs stop fiddling around, give Mr. Acord the
documents. We are going to try this thing and we are
going to keep it on schedule. And, as I said, if
documents aren't going to be produced, I ain't going to
give a judgment as anything other than take nothing.
See Exhibit G, P. 23, LL 9-12 and LL 17-25; P. 24, LL 9-11. A
true and correct copy of the transcript of the hearing on May 2,
2008 is attached hereto as Exhibit G. Based on third party
witness Vicki Pitts' response to the Freeman's subpoena(s) YAP's
counsel had the Pitts' documents in their possession by February
1, 2008. (Compare Exhibit C with Exhibits A and B.) A true and
correct copy of YAP's Revised Privilege Log filed on June 27,
2008 is attached hereto and marked Exhibit K. YAP's earlier
Privilege Log, filed May 20, 2008, appears at Docket No. 186.
True and correct copies of email correspondence between third
party witness Vicki Pitts and YAP corporate principal Roger
Mason, arranged in chronological order, that are contained in
Exhibit 2 (which YAP and its counsel seek to destroy) are atta-
ched as Exhibit I. A careful comparison of the entries in YAP's
Privilege Log made by its counsel and the email correspondence
YAP and its counsel seek to destroy contained in Exhibit I estab-

lishes that the Revised Privilege Log contains only two document

references to correspondence with witness Vicki Pitts. See
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Exhibit K, P. 4, Tab 24 and 25. Defendant Acord states that if
called to the stand to testify under oath, he would state that he
provided these two letters to YAP and its counsel in discovery.

12. If third party witness Vicki Pitts produced the docu-
ments described in her letter to YAP counsel Freeman on or about
February 1, 2008, at least one of YAP's counsel seems to have
committed a massive fraud on Court in the descriptions and sub-
mission of YAP's Privilege Log(s). The documents YAP and its
counsel wish to destroy are the very documents YAP and its coun-
sel should have described in the Privilege Log and submitted to
the Court for in camera review. Suppression or concealment of
documents required to be produced in discovery or described in a
privilege log in violation of Court Orders is fraud on Court.
See Okros, infra.

13. Thus, the record in this seems to display a pattern by
YAP's counsel and YAP itself in suppressing and secreting records
and documents and abuse of discovery. Perhaps YAP's attorneys
innocently excluded the description of the documents attorney
Freeman secretly extracted from Vicki Pitts through clandestine
use of the Court's subpoena? But what are the odds?

14. Finally, in light of the thread of emails contained in
Exhibit I wherein one party is responding to another, YAP's
counsel either knew or should have known that any claim that the
laws of physics were suspended with respect to delivery of elec-
tronic information to YAP's computers was false. (Acord's counsel
awaits receipt of a transcript of Roger Mason testimony and
attorney Freeman's and/or McClure's representations concerning

this "technology gap" so he can quote them verbatim.) YAP's

 
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counsel knew or should have known such statements were false
based on the documents contained in Exhibit 2 which are analyzed
below.

PERJURY BY ROGER MASON:

15. The travail of mistreatment heaped upon Defendant Acord
by YAP does not end with abuse of the Court's subpoena process
and the apparent suppression and concealment of documents by its
counsel or YAP's failure to comply with discovery.

16. Early on in this case, when the Court was apparently
faced with the difficult task of discerning fraud, described by
one grizzled Judge as the task of determining:

...Who's been a 'thievin' and who's been a'grievin'..."
the Court took over questioning of YAP'S principal, Roger Mason,

and inquired as follows:

THE COURT: Thank you. Mr. Mason, how are you
employed?

MR. MASON: I am the President of Young Again Pro-
ducts.

THE COURT: All right. Mr. Mason, do you know Mr.
Acord?

MR. MASON: Yes, I do, sir.

THE COURT: All right. The document that has been
marked as Exhibit No. 1 --

MR. MASON: Yes, sir.

THE COURT: ~- Do you have it in front of you?

MR. MASON: Yes.

THE COURT: Did you send that document to Mr. Acord?

MR. MASON: No sir.

THE COURT: Is that your handwriting?

MR. MASON: No, sir.

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COURT:
MASON:

COURT:

MASON:

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MASON:
COURT:

MASON;

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Do you know whose handwriting it is?
No sir.

Do you have any idea who sent this
document to Mr. Acord?

None whatsoever.

All right. And you do not recognize the
handwriting of anyone you know that is
on the document?

Not at all.

All right. Let's go to Exhibit No. 2.
Is that a document -- and Exhibit No. 2
is a two-page document, is it not?

Yes, it is.

All right. The second Page of Exhibit 2,
there is handwriting on it: am I right?

Yes, sir.
Is that your handwriting?

It's printing, sir, and it's not my
printing.

All right.
It's printing and --

It was done either in pen or pencil; is
that fair?

Something. May I say something?

Sure.

There is a zip code at the bottom, and
the 7 are unique. It is my understand-
ing this is the European style of wri-
ting.

Okay. Well, let me just ask you.

Yes sir.

Did you write that?

No sir.
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THE COURT: Okay. Do you know who did write it?
MR. MASON: No, sir.
THE COURT: Let's go to the first page of Exhibit 2.

Prior to today, have you ever seen the
first page of Exhibit 2?

MR. MASON: Yes, I have.

THE COURT: All right. When do you see it?

MR. MASON: When my attorneys gave it to me.

THE COURT: How long ago was that, roughly? I mean,

one month ago? Two months ago? Three
months ago?

MR. MASON: Less than a year, I believe.

THE COURT: Did you participate in drawing the pic-
ture that is on the first page of Exhi-
bit 2?

MR. MASON: No, sir.

THE COURT: Okay. Do you know who did?

MR. MASON: No, sir.

See Exhibit H, P. 8, LL 9-25; P. 9, LL 1-25; P. 10, LL 1-25. A
true and correct copy of portions of the transcript of the status
conference conducted on Thursday, December 13, 2007, are attached
hereto as Exhibit H.

17. This Court carefully questioned YAP's principal Mason
concerning a Pet Cemetary cartoon and the postal envelope in
which it was delivered to John Acord after admonishing all par-
ties that it intended to issue whatever orders were necessary to
protect its processes under 11 U.S.C. § 105. YAP's principal
Mason well knew of the materiality of his responses to the
Court's determination of whether its processes were being abused.

A true and correct copy of the Pet Cemetary cartoon and the

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envelop are attached hereto as Exhibit J. The Pet Cemetary
cartoon contains the following notations on cartoon tomb stones:

1. Queer No. 1

2. Beaner

3. Fag

4. Pansy

5. Gump

6. John Acord Born to lose (with a date of death)
8. Homo

9. UNMARKED
Admitting that he had this cartoon in his possession for almost a
year places the date Mason received a copy of Exhibit J to on or
about December 13, 2006. A comparison cf Exhibit J with the
Mason-Pitts emails which YAP and its counsel want destroyed
reveals the following language. 1} By March 28, 2005, Mason
writes:

He really thinks the IRS is just stupid baboons on

coffee breaks, of course he felt the same way about the

authorities before he went to jail twice before. The

third time they really tend to throw away the key. If

he gets ten years (you serve 8.5) he will die in jail.

No one will claim the body and he will be buried in an

unmarked grave in the back yard of the Springfield

medical hospital in Missouri, with queers, figs, per-

verts, dements, beaners, sickos, child molesters, and

all his other friends.
See Exhibit I, email dated March 28, 2005. Perhaps, there are
other "twisted misters" in the world who use the same foul ver-
nacular as YAP's principal Mason? Perhaps the author of the Pet
Cemetary cartoon acted alone in the absence of any Mason involve-
ment and Mason was able to describe the content of the cartoon
including the unmarked grave in his email to Pitts by divine (or
more likely diabolical) revelation? But what are the odds?

1. The Court will note that as the years progress Mason's emails in Exhibit
I become fouler and fouler.
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18. While YAP's principal Mason denied any involvement in
the mailing of the Pet Cemetary cartoon, his propensity for using
others as a mail drop for his malodorous and extortionate "inven-
tory sharking" operations is borne out hy the following note
written to Pitts:

P.S. Next week you will get an envelope to drop in the

mail box. A guy burnt us on a stock deal and it's pay

back time. All perfectly legal. I am just explaining

to his wife what he does when he is on business trips

and I know people who know hin.

See Exhibit I, email dated October 10, 2005.

19. Perhaps the use of Vicki Pitts (whom he later thréatens
and extorts) as a mail drop is an aberration and he has never
done it before or since? But what are the odds?

20. Finally, when challenged why the emails compelled to be
produced by this Court's order have not been provided, (Acord's
counsel is informed) Mason, and his counsel, claimed that a
strange technology "gap" existed between his computer and his
server operated by America On Line which acted as a barrier to
transmission so that he did not retain copies of sent and re-
ceived emails. The transcript of this Mason testimony has been
ordered and is not yet available. Once more, YAP's principal
Mason knew that his responses to questions concerning YAP's
failures to comply with discovery were material to the Court's
inquiry. Once more, Mason's claim repeated with presumably a
straight face by YAP's counsel in their representations to the
Court was that Mason never received copies of the emails through
the server maintained by America On Line. Let us examine this

claim more carefully. Exhibit I email dated September 26, 2004

contains a letter from witness Vicki Pitts to Mason. Clearly,

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one email is a response to the other.

When I registered late night (I did not do it at Name

Secure) it pretty much tied the information to the

credit card. So it has my information. There was a

place where it asked about the business and I put Young

Again Products, Inc. And you have this in writing

right here, that I registered these for you and they

are yours.
Roger Mason writes:

Would you please register Total Minerals.com

21. Other responsive emails include the emails dated Octo-
ber 8, 2004, and October 10, 2004. How could Roger Mason respond
to Vicki Pitts' email or Vicki Pitts respond to Roger Mason's
emails the AOL server was not sending or receiving their emails?
If Mason got no copies, Mason could not respond to Pitts and
Pitts could not respond to Mason. Perhaps YAP's principal Mason
is possessed of such mental powers that he could intercept and
decipher the emails, in cyberspace, through the powers of his
brain alone (similar to his email description of the Pet Cemetary
cartoon) without the necessity of reading from a computer screen
or the printed page? But what are the odds? The above compari-
son of YAP'S principal Mason's testimony with the record leaves
an abiding conviction that perjury has been committed. But
towards what purpose? The answer can be found in the bragadoccio
Mason apparently loves to engage in with his captive email audi-

ence:

S and S do not want to get into a court battle with us
for a lot of reasons. They know we have cash (they
don't). Are vicious, have the best civil attorneys in
the D.C. area and win every case we get involved in.
See Exhibit I, email dated September 25, 2004. Unfortunately for

those who are sucked into YAP's and Mason's inventory sharking

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operation, the venture seems to end badly for each vendor with
the filing of criminal charges to collect a (supposed) debt. See
Exhibit I, emails dated August 6, 2006. ‘Contrary to YAP's and
its counsel's claims of an ether gap that mysteriously sucked in
and destroyed all emails before they were delivered to Mason's
computer, YAP apparently had no difficulty in maintaining suffi-
cient communication by email, and otherwise, to carry on its
campaign of extortion which purports to convert a civil debt owed
by a vendor into a criminal theft at Mason's and his vicious
attorney's whim.

22. Perhaps a million dollar natural supplement business
which YAP claims to be, would tolerate this "cybersucking" of its
emails for years, without changing email services despite the
massive lost sales and disorganization which must have ensued?
But what are the odds?

23. Statisticians teach us that in a natural world the
occurrence of one improbable event does not negate the possibil-
ity of the occurrence of another. The history of man kind, (at
least in litigation) teaches us that a human actor committing a
series of fraudulent and abusive acts directed towards one pur-
pose will, in high probably, become a serial abuser and frauds-
ter.

24. Could the above-described violations of the Rules have
been committed innocently by ethical attorney(s) whose only goal
is to see that Justice was done in this or in the other related
cases? Has Roger Mason been truthful with the Court, who, at
YAP's attorneys' behest actually jailed Defendant Acord based on

competing claims to credibility? Sadly, the answer to both ques-

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tions is "no." This Court has been duped and has unwittingly
become an appendage to Roger Mason's (and perhaps his
attorney(s)?) inventory sharking operations which threatens
criminal prosecution to collect a simple civil debt, which com-
mits fraud on Court to conceal documents, and which covers up
elicit and improper use of Court processes through commission of

perjury. See Okros, infra for definition.

 

25. The above facts transcend mere destruction or conceal-
ment of records, abuse of the Court's subpoena power, or discov-
ery abuse.

26. This Court should grant, or recommend a remedy to the
District Court which will not only take the profit, but also the
fun, out of the YAP / Mason inventory sharking operation and
sends a clear message to attorneys that they must avoid any
complicity with their clients in carrying out such abusive liti-
gation or face the financial as well as ethical consequences.

LEGAL ARGUMENT AND AUTHORITY
IN SUPPORT OF MOTION FOR SANCTIONS

If.
LEGAL GROUNDS FOR SANCTIONS:

1. Rule 7037 F.R.B.P. applies Rule 37 Federal Rules of
Civil Procedure to Adversary Proceedings. Under Rule 37(b) this
Court has the power to dismiss YAP's actions for the above trans-
gressions based solely on YAP's failure to comply with the
Court's discovery orders. The Supreme Court of the United States
made it clear, in Chambers v. NASCO, that all Federal Courts
(including even the Bankruptcy Court under 11 U.S.C. § 105 as

previously alluded to by this court) have a responsibility to

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keep their processes clean and to take whatever steps are neces-
sary to deter, as well as punish, those who foul the Court's
processes by fraudulent or abusive acts. Title 28 U.S.C. § 1927
is directed at attorneys only. While there is some dispute as to
whether an act sanctionable under § 1927 requires a finding of
bad faith § 1927 punishes an offending attorney who "vexatiously"
increases costs or expense of an proceeding by imposing the costs
including attorney's fees which were incurred by opposing parties
on the attorney committing the (vexatious) conduct. Rule 45,
F.R.Civ.P. made binding in this action under Rule 9016 F.R.B.P.
provides a separate ground for sanctions based on abuse of the
third party subpoena process. That role allows recovery of all
damages suffered by any party as a result of the abuse of the
Court's third party subpoena process.

2. Rule 37(b), this Court's inherent powers (Chambers v.
NASCO), Rule 9016 F.R.B.P., Rule 45 F.R.Civ.P.) and 28 U.S.C. §
1927 provide this Court with ample authority to impose the sanc-
tions in this case which it deems equitable and just and which
will serve the purpose of preventing a repetition of the kind of
abuse presented by this record.

FRAUD ON COURT:
3. As pointed out by the United States Court of Appeals for

the Sixth Circuit in Okros v. Angelo Iafrate Const. Co., 07-1455

 

 

(6th Cir. 10-17-2008), fraud on Court consists of conduct:

(1). On the part of an officer of the Court;

(2) That is directed to the judicial machinery itself;

(3) That is intentionally false, willfully blind to
the truth, or is in reckless disregard for the
truth;

(4) That is positive averment or as concealment when
one is under a duty to disclose;

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(5) That deceives the Court.
Okros, Lois Law Slip Opinion. Citing Demjanjuk vy. Petrovsky, 10
F.3d 338, 348 (6th Cir. 1993). Clearly, YAP's attorneys are
officers of the Court. Clearly, YAP's attorney's claims that YAP
had acted in good faith and turned over ali the documents neces-
sary to comply with the Court's discovery orders were "directed
to the judicial machinery itself." Any representation that all
documents in YAP's possession, custody, or control, were tendered
with the privilege log, under this record, were one of the fol-
lowing:

Intentionally false

Willfully blind to the truth

Made in reckless disregard for the truth
A party is required to produce all discoverable documents in its
possession. The party's attorney must make a reasonable effort
to insure the client has produced all the documents responsive to
the discovery requests and the Court's orders. Poole at 192
F.R.D. 503. Clearly, YAP's counsel were under a positive duty to
disclose and documents were concealed from the Court's in camera
review -- the same documents YAP suggests that this Court should
destroy. Finally, YAP's representations concerning discovery in
this case through its attorneys have continually deceived this
Court. Having analyzed all the evidence attached to this motion,
which was not available during Roger Mason's December testimony
set out in Exhibit H, is the Court still comfortable with having
jailed Defendant Acord based on attorney McClure's representa-
tions of non-receipt from Defendant Acord of documents which he

supposedly controlled in the hands of third parties?

4. Clearly, all five elements of the Okros fraud on Court

 

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test are present here.
VIOLATION OF RULE 45 AND THE COURT'S SUBPOENA PROCESS:

5. Apparently, YAP's counsel believe that they can issue
subpoenas without notice, fraudulently instruct subpoenaed wit-
nesses not to voluntarily produce documents in their possession
to the other parties in the case where the subpoena is issued and
then secret the production. Attorney Freeman and/or McClure have
displayed a penchant for taking judicial powers onto themselves.
One such previous example was YAP's refusal to produce the docu-
ments compelled by this Court in Houston where YAP filed its
Bankruptcy action. Another example is YAP's failure to volun-
tarily produce the documents requested or subpoenaed from it by
the Trustee Floyd's counsel when requested. (Defendant ultimate-
ly received copies of those records from the Trustee after they
were apparently produced to the Trustee.) Intentional fraudulent
non-disclosure during discovery can form the basis of a claim for

fraud on Court. Demjanjuk, 10 F.3d at 333. Buell v. Anderson,

 

48 F.App'x. 491, 499 (6th Cir. 2002). A fraudulent scheme to
suppress documents pursued pursuant to third party subpoenas
under Rule 45 qualifies as fraud on Court under this test as
surely as a counsel's intentional omission of discoverable docu-
ments from a privilege log.

ATTORNEY CLIENT PRIVILEGE AND WORK PRODUCT IMMUNITY:

6. Based on YAP's violation of this Court's discovery
orders, this Court need not concern itself with YAP's spurious
claims that the thread of emails between YAP's predatory sup-
plier, Roger Mason, and his enthralled vendor, Vicki Pitts, have

anything to do with the plotting or formulation of any legal

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advice or legal strategy given by YAP's counsel or pursued in
this case. Pitts was never aware that she was being "questioned"
for the purposes of legal advice or law suits. Mason's odious
emails contained in "Exhibit 2" could not be the legitimate
discourse of any attorney seeking to provide his/her client with
bona fide legal advice consistent with the Rules of Ethics bind-
ing on this Court's practice which, in all Courts of this coun-
try, require attorneys to respect the rights of third parties.
The intentional assertion of bogus claims of attorney-client
privilege is, itself, a ground for discovery sanctions. In the

Matter of the Complaint of Omega Protein, Inc., No. 2:04-CV-2071

 

(W.D. La. 1-17-2007). Citing Upjohn Co. v. United States, 101
S.Ct. 677, 685 (1981). (An employee must be aware they are being
questioned for legal advice.) The crime fraud tort exception
exempts from the privilege any communications intended to further
the harm of a business or person from the attorney-client privi-
lege. Flexible Benefits Council v. Feldman, No. 1:08-CV-371
(JCC) (E.D. Va. 10-8-2008). Citing United States v. Jones, 696
F.2d 1069, 1072 (4th Cir. 1982). The communication must relate
to the attorney's representation. Mere communications to busi-
ness associates are not privileged. Flexible Benefits Council.
Threatening letters such as Roger Mason's diatribes against the
world in general and Defendant Acord and his sixty-six year old
mother ("the old hag") are also exempted from the privilege.
D'Amario v. U.S., (N.J. 12-7-2005) C.A. No. 04-221 (JEI). Vicki
Pitts had no need to know any of the information contained in
Mason's diatribes. Mason's "twisted mister" mentality compelled

him to make such revelations with witness Vicki Pitts as the

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hapless audience. No expression was ever made to her in any of
the emails that any of the information was confidential. Nor was
there any agreement of confidentiality. Neither the attorney-
client privilege nor the work product immunity applies to any of

the communications in "Exhibit 2." Nero v. Target Corp., Case

 

 

No. 04-C-6267 (N.D. Ill. 6-7-2007). Citing Baxter Travenol Labs,

Inc. v. Abbott Labs, No. 84C-5103, 1987 WL 12919 (N.D. Ill. 6-19-

 

1987) (Where the client is a corporation, the privilege is waived
if the communications are disclosed to employees who do not need
access to the communication.)

In light of the content of the emails themselves, it is hard
to conceive how any attorney could claim in good faith that
Mason's diatribes were the product of legitimate legal practice
or work by YAP's attorneys. None of the letters contained in
"Exhibit 2" that YAP and its counsel want destroyed fit the
definition of legitimate work product stated in Performance After
market, P.Gr. v. TI GR. Auto Sys., No. H-05-4251 (S.D. Tex. 5-11-
2007). Letters containing damaging or incriminating information
or facts are not privileged. Doe v. Elwood Public School Dist.,
7:04-CV-5011 (Neb. 12-18-2006).

7. A party's voluntary subpoena of its own records is a
waiver of any privilege. Westinghouse v. Republic of the Philli-
pines, 951 F.2d 1414, 1427 n. 14 (3d Cir. 1991).

RULE 45 VIOLATIONS:

8. Violation of Rule 45 is a grounds for sanctions. Most

jurisdictions recognize a separate cause of action for abuse of

subpoena or Court process. Watson v. State, CV-04-16-H-CSO

(Mont. 7-27-2006). Welch v. Centex Home Equity Co., LLC, No. 03-

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2132-JWL-DJW (D.Kan. 2004). Automotive Inspection Services v.
Flint Auto Auction, No. 06-15100 (E.D. Mich. 11-9-2007). Murphy

220 (N.D. N.Y. 9-12-2000). U.S. v. Santiago-Lugo, 904 F.Supp. 43
(P.R. 1995).

9. Finally, "claw back" relief is reserved for those who
innocently and inadvertently produce their own privileged docu-
ments. Adams v. U.S., No. 03-0049-E-DLW (Idaho 7-3-2008). A
party that fails to protect its own privilege waives that privi-
lege. Phoenix Solutions, Inc. v. Wells Fargo Bank, N.A, No. COo8-
00863-MHP (N.D. Cal. 10-22-2008).

Williams v. Taser International, Inc., No. 1:06-CV~0051-RWS (N.D.

Ga. 1-22-2008). Refusal to provide documents for Court review of

the validity of a claimed privilege waives the privilege. Carri-

 

zosa v. Stassinos, No. 05-2280 RMW (N.D. Cal. 2006). Disclosure

of privileged materials to an ordinary agent waives any claim of

 

privilege. MLC Automotive, LLC v. Town of Southern Pines, No.

 

1:05-CV-1078 (N.D. N.C. 1-11-2007).
CONCLUSION

The only "gap" which exists in this case is one in YAP's
honesty. This Court should enter an order striking Plaintiff
YAP's pleadings in their entirety and issue a take nothing judg-
ment on all claims which YAP made, or could have made, in this
case, with prejudice. This Court should award monetary sanctions
against Plaintiff YAP for the total cost expended by Defendant
Acord in defending these proceedings including those costs he was
ordered by this Court to pay during the occurrence of any miscon-

duct described in this motion.

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If this Court has any lingering doubts concerning the facts,
the deposition of third party witness Vicki Pitts should be taken
and, thereafter, this Court should grant the relief prayed for
above.

Respectfully submitted,

S/ Joe Alfred Izen, Jr.

 

Joe Alfred Izen, Jr.
5222 Spruce Street
Bellaire, Texas 77401
(713) 668-8815

(713) 668-9402 FAX

CERTIFICATE OF OPPOSITION
This motion is opposed.

s/ Joe Alfred Izen, Jr.

 

Joe Alfred Izen, Jr.
CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing

document was sent to Margaret M. McClure, the Trustee, and all

parties by electronic transmission on this the 12th day of Decem-
ber, 2008.

S/ Joe Alfred Izen, Jr.

 

ACORSAN .M4S/TK410 Joe Alfred Izen, Jr.
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
AT HOUSTON, TEXAS

IN RE: SUPPLEMENT SPOT, LLC, §
DEBTOR, § CASE NO. 06-35903
§ CHAPTER 11
YOUNG AGAIN PRODUCTS, INC., §
PLAINTIFF, §
§
vs. § ADVERSARY NO. 07-3019
§
SUPPLEMENT SPOT, LLC, ET AL, §
DEFENDANTS, §
ORDER ON

DEFENDANT, JOHN ACORD'S, MOTION TO IMPOSE SANCTIONS UNDER
RULE 37(b) F.R.CIV.P. AND 7037(b) F.R.BKR.P., INHERENT POWER
OF THE COURT (CHAMBERS V. NASCO), AND TITLE 28 U.S.C. § 1927

 

 

BEFORE the Court on this the day of December, 2008,
came on to be heard the Defendant, John Acord's, Motion to Impose
Sanctions Under Rule 37(b) F.R.Civ.P. and 7037(b) F.R.Bkr.P.,
Inherent Power of the Court (Chambers v. NASCO) and Title 28
U.S.C. § 1927, and the Court, after due consideration of said
motion, the Court is of the opinion that relief should be gran-
ted. It is therefore;

ORDERED that Plaintiff YAP's pleadings ARE / ARE NOT strick-
en in their entirety. It is further;

ORDERED that the Court SHALL / SHALL not issue a take noth-
ing judgment on all claims which YAP made or could have been made
in this case, with prejudice. This Court should award monetary
sanctions against Plaintiff YAP for the total cost expended by
Defendant Acord in defending these proceedings including those
costs he was ordered by this Court to pay during the occurrence
of misconduct alleged in this motion in the amount of

$ .
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SIGNED on this the day of , 2008.

 

JUDGE PRESIDING
